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                   UNITED STATES DISTRICT COURT

                   EASTERN DISTRICT OF LOUISIANA


LOGAN MILLS,                        *                 CIVIL ACTION
                                    *                 NO. 18-847
VERSUS                              *
                                    *                 DIVISION “F”(2)
ROBERT TANNER, WARDEN               *
                                    *
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                               EXHIBIT B

  MILLS’ ORIGINAL EXHIBITS ACCOMPANYING HIS APPLICATION FOR
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              _________________________________________
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